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 EXHIBIT 05
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 __________________________________

                         Wendell Nicholson
                         December 2, 2022
 __________________________________

                           Progeny, et al.
                                   vs.

                  City of Wichita, Kansas
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1              IN THE UNITED STATES DISTRICT COURT

2                   FOR THE DISTRICT OF KANSAS

3

4    PROGENY, a program of Destination )

5    Innovations, Inc., CHRISTOPHER            )

6    COOPER, ELBERT COSTELLO, MARTEL           )

7    COSTELLO, and JEREMY LEVY, JR.,           )

8    on behalf of themselves and               )

9    others similarly situated,                )

10   Plaintiffs,                               )

11   vs                                        )

12   CITY OF WICHITA, KANSAS,                  )

13   Defendant.                                )

14   __________________________________)

15                    VIDEOTAPED DEPOSITION OF

16                      WENDELL NICHOLSON

17                      December 2, 2022

18

19                            Taken at:

20                Joseph, Hollander & Craft

21                      500 North Market

22                      Wichita, Kansas

23

24

25   Kathy R. Bonfiglio, CSR-KS, CSR-MO, RPR



                                                                                  1
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1             A.   Never.

2             Q.   To your recollection, have there ever

3    been people in policy making positions in that

4    group that have ever reflected the community in

5    which it polices?

6             A.   Never.

7             Q.   What do you think the result of that

8    ultimately is?

9             A.   Well, I think when you don't have

10   diversity at the table, like we discussed with the

11   SWAT team decision as far as discipline, if you

12   have one person who comes from a particular

13   background and he thinks that's just how people

14   talk and that's the only person that -- and he's

15   the only person at the table that looks like him

16   and you don't have some other people saying no,

17   that's not a good thing, I think you have problems.

18   I think with the Gang Unit, I think it can affect,

19   if you are not culturally competent about certain

20   things as far as how the list is administered or

21   how people are selected, I think that could have a

22   deleterious effect on how it's administered or who

23   is put on that list.

24            Q.   So the makeup of the Gang Unit and

25   those in charge of policy making positions in there



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1    about the numbers I was giving, 85 percent persons

2    of color; 66 black and 19 percent Hispanic is what

3    I was referring to if that helps.         So you have also

4    had discussions with community members about people

5    riding with other family members and being included

6    on the list?

7             A.   Correct.

8             Q.   So in your interaction with the

9    community do you feel that people are deterred from

10   even riding with family members because of the gang

11   list?

12                 MR. BRANSON: Object to form.

13            A.   Definitely.     It's a concern for people;

14   another concern in underserved communities are

15   faced with when dealing with possibly having to

16   deal with the police department.

17            Q.   (By Mr. Vogel) So I'll ask this.             It's

18   fair to say you have had conversations with

19   community members who have voiced concerns in those

20   conversations about riding with family members

21   because one or more of those family members may be

22   on the gang list?

23                 MR. BRANSON: Object to form.

24            A.   Yes.

25            Q.   (By Mr. Vogel) Have you had



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1             A.    Yes.

2             Q.    (By Mr. Vogel) Why?

3             A.    Just because necessarily you are

4    hanging out at a specific place doesn't necessarily

5    mean that you are a gang member, just in my

6    opinion.      I mean, you might live in that area.           You

7    might have family that's there.           If you live in a

8    food desert, if that's like a place that you go get

9    soda or something like that, then that might be the

10   place that you go, so that in and of itself

11   shouldn't be a criteria that should be used to

12   label someone as a gang member, at least in my

13   opinion.

14            Q.    Do you have any understanding of how

15   the Wichita Police Department identifies a criminal

16   street gang area?

17            A.    No.

18            Q.    Do you know what a criminal street gang

19   area is?

20            A.    I actually never heard that term

21   before.

22            Q.    So let's look at the next one.          One of

23   the criteria is, "Adopt such gang style of dress,

24   color, use of hand signs or tattoos."            Do you think

25   that criteria is problematic when a WPD officer



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1             A.   I think those are all subjective sorts

2    of things now.     Sometimes when something walks like

3    a duck it's a duck but it doesn't mean it's a duck.

4    So just because I may wear North Carolina Tarhill

5    stuff, maybe I have friends that are gang members

6    or I go to a place that gang members go to, that

7    doesn't mean that I'm a gang member.           Might just be

8    my friends, might be my family.           The people and

9    what they do when they are not around me, that

10   doesn't have anything to do with me as a person.

11   That's something completely in and of itself.

12            Q.   So could application of this statute

13   through Policy 527 lead to incorrectly identifying

14   people in the community as gang members?

15                 MR. BRANSON: Object to form.

16            A.   I think so.

17            Q.   (By Mr. Vogel) Can you recall an

18   instance or a particular point in time when -- that

19   an officer may have incorrectly identified a group

20   as a gang member or as people involved in gang

21   activity of some sort?

22            A.   I can only just go off my personal

23   experience of 30 years on the police department.               I

24   remember when I started we would -- obviously I was

25   a patrol officer and you are riding with folks that



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1    experience in which that's been true?

2             A.   Not that I can recall.

3             Q.   Do you recall a conversation at any

4    point --

5             A.   I take that back.

6             Q.   Go ahead.

7             A.   So when I was a sergeant, I think maybe

8    a sergeant or a detective, there was a party at

9    Tallgrass, the country club or something like that

10   and it was a party for a fraternity Kappa Alpha Psi

11   and they obviously, their colors are crimson and

12   cream.    I remember, I don't know who was over the

13   Gang Unit at the time but there was a bunch of

14   e-mails sent out concerning that they were going a

15   gang party there and so the e-mail got to me and I

16   said and they said it was a Kappa Alpha Psi party

17   and I said that's not a gang; that's a historically

18   black fraternity.        I'm a member of Omega Psi Phi.

19   I wear purple and gold.        And when they started

20   telling me some of the names that were attending

21   the party, it was like Dr. DeHart who was a member

22   of Kappa Alpha Psi and couple of other doctors and

23   other people that were in the high up in the

24   community definitely weren't gang members and I

25   said, you guys probably should do a little bit of



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1    research.     Kappa Alpha Psi is a historically black

2    fraternity and probably Dr. DeHart has probably

3    delivered most of the babies on the police

4    department here.     So that would be a case that

5    somebody wearing some colors was an example of not

6    having that cultural competency and assuming

7    because had I not said anything they planned to

8    have enforcement activities up there that evening

9    to deal with them and probably wouldn't have went

10   over very well.

11            Q.   So these were e-mails that you

12   ultimately got that originated from the Gang Unit?

13            A.   I don't know who it came from but I

14   know that there was a concern that they were having

15   a party there and that they thought was a Blood

16   party and I had to explain some of the differences

17   between a Blood and a member of Kappa Alpha Psi.

18            Q.   Was that a problem?

19            A.   Yes.

20            Q.   Why?

21            A.   Cultural competency, not having

22   diversity of people in a unit that doesn't know

23   that there's such thing as black fraternities and

24   sororities.    That's an issue because just because

25   you wear a particular color doesn't necessarily



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